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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


   HARRY HAYMAN,
                                                    Civil Action No.
                     Plaintiff,
                                                    COMPLAINT FOR VIOLATIONS
       v.                                           OF THE FEDERAL SECURITIES
                                                    LAWS


                                                    JURY TRIAL DEMANDED

    FLIR SYSTEMS, INC., JAMES J.
    CANNON, EARL R. LEWIS, JOHN D.
    CARTER, WILLIAM W. CROUCH,
    CATHERINE A. HALLIGAN, ANGUS
    L. MACDONALD, MICHAEL T.
    SMITH, CATHY A. STAUFFER,
    ROBERT S. TYRER, JOHN W. WOOD
    JR., and STEVEN E. WYNNE,


                     Defendants.



       Plaintiff Harry Hayman (“Plaintiff”) by and through his undersigned attorneys, brings

this action on behalf of himself, and alleges the following based upon personal knowledge as to

those allegations concerning Plaintiff and, as to all other matters, upon the investigation of

counsel, which includes, without limitation: (a) review and analysis of public filings made by

FLIR Systems, Inc. (“FLIR” or the “Company”) and other related parties and non-parties with

the United States Securities and Exchange Commission (“SEC”); (b) review and analysis of

press releases and other publications disseminated by certain of the Defendants (defined below)

and other related non-parties; (c) review of news articles, shareholder communications, and

postings on the Company’s website concerning the Company’s public statements; and (d) review

of other publicly available information concerning FLIR and the Defendants.
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                                 SUMMARY OF THE ACTION

       1.       This is an action brought by Plaintiff against FLIR and the Company’s Board of

Directors (the “Board” or the “Individual Defendants”) for their violations of Section 14(a) and

20(a) of the Securities Exchange Act of 1934, 15.U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9,

17 C.F.R. 240.14a-9, in connection with the proposed sale of the Company to Teledyne

Technologies Incorporated (“Teledyne”) (the “Proposed Transaction”).

       2.       On January 4, 2021, the Company entered into an Agreement and Plan of Merger

(the “Merger Agreement”) with Teledyne. Pursuant to the terms of the Merger Agreement the

Company’s shareholders will be entitled to receive $28.00 in cash and 0.0718 shares of Teledyne

common stock for each share of FLIR common stock that they own (the “Merger

Consideration”).

       3.       On March 4, 2021, in order to convince the Company’s shareholders to vote in

favor of the Proposed Transaction, the Board authorized the filing of a materially incomplete and

misleading registration statement with the SEC on Form S-4 (the “Registration Statement”), in

violation of Sections 14(a) and 20(a) of the Exchange Act.

       4.       For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

FLIR and the Board for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule

14a-9. Plaintiff seeks to enjoin Defendants from taking any steps to consummate the Proposed

Transaction unless and until the material information discussed below is disclosed to FLIR

shareholders before the vote on the Proposed Transaction or, in the event the Proposed

Transaction is consummated, recover damages resulting from the Defendants’ violations of the

Exchange Act.




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                                   JURISDICTION AND VENUE

        5.       This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

        6.       This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains

operations within, this District, or is an individual who is either present in this District for

jurisdictional purposes or has sufficient minimum contacts with this District so as to make the

exercise of jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

        7.       Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                           THE PARTIES

        8.       Plaintiff is, and has been at all times relevant hereto, the owner of FLIR shares.

        9.       Defendant FLIR is incorporated under the laws of Delaware and has its principal

executive offices located at 27700 SW Parkway Avenue, Wilsonville, Oregon. The Company’s

common stock trades on the NASDAQ under the symbol “FLIR.”

        10.      Defendant James J. Cannon (“Cannon”) is and has been the President, Chief

Executive Officer and a director of FLIR at all times during the relevant time period.

        11.      Defendant Earl R. Lewis (“Lewis”) is and has been a director of FLIR at all times

during the relevant time period.

        12.      Defendant Michael T. Smith (“Smith”) is and has been a director of FLIR at all

times during the relevant time period.




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       13.     Defendant John D. Carter (“Carter”) is and has been a director of FLIR at all

times during the relevant time period.

       14.     Defendant William W. Crouch (“Crouch”) is and has been a director of FLIR at

all times during the relevant time period.

       15.     Defendant Catherine A. Halligan (“Halligan”) is and has been a director of FLIR

at all times during the relevant time period.

       16.     Defendant Angus L. Macdonald (“Macdonald”) is and has been a director of

FLIR at all times during the relevant time period.

       17.     Defendant Cathy A. Stauffer (“Stauffer”) is and has been a director of FLIR at all

times during the relevant time period.

       18.     Defendant Robert S. Tyrer (“Tyrer”) is and has been a director of FLIR at all

times during the relevant time period.

       19.     Defendant John W. Wood, Jr. (“Wood”) is and has been a director of FLIR at all

times during the relevant time period.

       20.     Defendant Steven E. Wynne (“Wynne”) is and has been a director of FLIR at all

times during the relevant time period.

       21.     Defendants Cannon, Lewis, Smith, Carter, Crouch, Halligan, Macdonald,

Stauffer, Tyrer, Wood, and Wynne are collectively referred to herein as the “Individual

Defendants.”

       22.     The Individual Defendants, along with Defendant FLIR, are collectively referred

to herein as “Defendants.”




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                              SUBSTANTIVE ALLEGATIONS

                                 Background of the Company

       23.    FLIR designs, develops, markets, and distributes solutions that detect people,

objects and substances that may not be perceived by human senses and improve the way people

interact with the world around them. FLIR brings these innovative technologies into daily life in

ways that help save lives and livelihoods. FLIR technologies include thermal imaging systems,

visible-light imaging systems, locater systems, measurement and diagnostic systems, and

advanced threat-detection solutions.

                    The Company Announces the Proposed Transaction

       24.    On January 4, 2021, the Company jointly issued a press release announcing the

Proposed Transaction. The press release stated in part:


       THOUSAND OAKS, Calif. and ARLINGTON, Va. – January 4, 2021 – Teledyne
       Technologies Incorporated (NYSE:TDY) (“Teledyne”) and FLIR Systems, Inc.
       (NASDAQ:FLIR) (“FLIR”) jointly announced today that they have entered into a
       definitive agreement under which Teledyne will acquire FLIR in a cash and stock
       transaction valued at approximately $8.0 billion.

       Under the terms of the agreement, FLIR stockholders will receive $28.00 per
       share in cash and 0.0718 shares of Teledyne common stock for each FLIR share,
       which implies a total purchase price of $56.00 per FLIR share based on
       Teledyne’s 5-day volume weighted average price as of December 31, 2020. The
       transaction reflects a 40% premium for FLIR stockholders based on FLIR’s 30-
       day volume weighted average price as of December 31, 2020.

       As part of the transaction, Teledyne has arranged a $4.5 billion 364-day credit
       commitment to fund the transaction and refinance certain existing debt. Teledyne
       expects to fund the transaction with permanent financing prior to closing. Net
       leverage at closing is expected to be approximately 4.0x adjusted pro forma
       EBITDA with leverage declining to less than 3.0x by the end of 2022.

       Teledyne expects the acquisition to be immediately accretive to earnings,
       excluding transaction costs and intangible asset amortization, and accretive to
       GAAP earnings in the first full calendar year following the acquisition.




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“At the core of both our companies is proprietary sensor technologies. Our
business models are also similar: we each provide sensors, cameras and sensor
systems to our customers. However, our technologies and products are uniquely
complementary with minimal overlap, having imaging sensors based on different
semiconductor technologies for different wavelengths,” said Robert Mehrabian,
Executive Chairman of Teledyne. “For two decades, Teledyne has demonstrated
its ability to compound earnings and cash flow consistently and predictably.
Together with FLIR and an optimized capital structure, I am confident we shall
continue delivering superior returns to our stockholders.”

“FLIR’s commitment to innovation spanning multiple sensing technologies has
allowed our company to grow into the multi-billion-dollar company it is today,”
said Earl Lewis, Chairman of FLIR. “With our new partner’s platform of
complementary technologies, we will be able to continue this trajectory, providing
our employees, customers and stockholders even more exciting momentum for
growth. Our Board fully supports this transaction, which delivers immediate value
and the opportunity to participate in the upside potential of the combined
company.” Jim Cannon, President and Chief Executive Officer of FLIR, said,
“We could not be more excited to join forces with Teledyne through this value-
creating transaction. Together, we will offer a uniquely complementary end-to-
end portfolio of sensory technologies for all key domains and applications across
a well-balanced, global customer base. We are pleased to be partnering with an
organization that shares our focus on continuous innovation and operational
excellence, and we look forward to working closely with the Teledyne team as we
bring our two companies together to capitalize on the important opportunities
ahead.”

Fourth Quarter Financial Results

In a separate press release issued today, Teledyne announced improved
preliminary financial results for the fourth quarter and full year 2020. The
Teledyne press release is available on www.teledyne.com. FLIR noted today that
it expects to meet or exceed the full year fiscal 2020 guidance it provided on
October 30, 2020.

Approvals and Timing

The transaction, which has been approved by the boards of directors of both
companies, is expected to close in the middle of 2021 subject to the receipt of
required regulatory approvals, including expiration or termination of the
applicable waiting period under the Hart-Scott-Rodino Antitrust Improvements
Act, approvals of Teledyne and FLIR stockholders and other customary closing
conditions.

Advisors
Evercore is acting as exclusive financial advisor and McGuireWoods LLP is



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       acting as legal advisor to Teledyne in connection with the transaction. Goldman
       Sachs & Co. LLC is acting as exclusive financial advisor and Hogan Lovells US
       LLP is acting as legal advisor to FLIR in connection with the transaction.
       Teledyne has entered into a 364-day senior unsecured bridge facility credit
       agreement with Bank of America as sole lead arranger and administrative agent.

                 FALSE AND MISLEADING STATEMENTS
      AND/OR MATERIAL OMISSIONS IN THE REGISTRATION STATEMENT

       25.    On March 4, 2021, the Company authorized the filing of the Registration

Statement with the SEC.        The Registration Statement recommends that the Company’s

shareholders vote in favor of the Proposed Transaction.

       26.    Defendants were obligated to carefully review the Registration Statement prior to

its filing with the SEC and dissemination to the Company’s shareholders to ensure that it did not

contain any material misrepresentations or omissions. However, the Registration Statement

misrepresents and/or omits material information that is necessary for the Company’s

shareholders to make informed decisions regarding whether to vote in favor of the Proposed

Transaction, in violation of Sections 14(a) and 20(a) of the Exchange Act.

                 Material False and Misleading Statements or Material
     Misrepresentations or Omissions Regarding the Company’s Financial Projections

       27.    The Registration Statement contains projections prepared by the Company’s and

Teledyne’s management concerning the Proposed Transaction, but fails to provide material

information concerning such.

       28.    The SEC has repeatedly emphasized that disclosure of non-GAAP projections can

be inherently misleading, and has therefore heightened its scrutiny of the use of such

projections. 1 Indeed, on May 17, 2016, the SEC’s Division of Corporation Finance released new



1
 See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures: The SEC’s
Evolving Views, Harvard Law School Forum on Corporate Governance and Financial
Regulation (June 24, 2016), available at https://corpgov.law.harvard.edu/2016/06/24/non-gaap-


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and updated Compliance and Disclosure Interpretations (“C&DIs”) on the use of non-GAAP

financial measures that demonstrate the SEC’s tightening policy. 2 One of the new C&DIs

regarding forward-looking information, such as financial projections, explicitly requires

companies to provide any reconciling metrics that are available without unreasonable efforts.

       29.     In order to make management’s projections included in the Registration Statement

materially complete and not misleading, Defendants must provide a reconciliation table of the

non-GAAP measures to the most comparable GAAP measures.

       30.     Specifically, with respect both sets of projections, the Company must disclose the

line item projections for the financial metrics that were used to calculate the non-GAAP

measures, including Unlevered Free Cash Flow.

       31.     Disclosure of the above information is vital to provide investors with the complete

mix of information necessary to make an informed decision when voting on the Proposed

Transaction.   Specifically, the above information would provide shareholders with a better

understanding of the analyses performed by the Company’s financial advisor in support of its

opinion.




financial-measuresthesecs evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping
Companies Spin Losses Into Profits, N.Y. Times, Apr. 22, 2016, available at
http://www.nytimes.com/2016/04/24/business/fantasy-mathis-helping-companies-spin-ossesinto-
profits.html?_r=0.
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 Non-GAAP Financial Measures, Compliance & Disclosure Interpretations, U.S. SECURITIES
AND       EXCHANGE          COMMISSION           (May     17,     2017), available   at
https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm.


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                    Material False and Misleading Statements or Material
          Misrepresentations or Omissions Regarding Goldman Sachs’ Financial Opinion

       32.     The Registration Statement contains the financial analyses and opinion of

Goldman Sachs & Co. LLC (“Goldman Sachs”) concerning the Proposed Transaction, but fails

to provide material information concerning such.

       33.     With respect to Goldman Sachs’ Discounted Cash Flow Analysis, the Registration

Statement fails to disclose: (i) the inputs and assumptions underlying Goldman Sachs’ use of the

discount rate range of 6.5% to 9.0%; (ii) the terminal values of the Company; and (iii) the basis

for Goldman Sachs’ selection of an illustrative range of terminal year EV/EBITDA multiples of

12.0x to 15.0x.

       34.     With respect to Goldman Sachs’ Illustrative Present Value of Future Share Price

Analysis, the Registration Statement fails to disclose: (i) the inputs and assumptions underlying

Goldman Sachs’ selection of a discount rate of 8.25%; and (ii) the basis for Goldman Sachs’

selection of a range of NTM EBITDA multiples of 16.0x to 20.0x.

       35.     With respect to Goldman Sachs’ Selected Transactions Analysis, the Registration

Statement fails to disclose: (i) the individual multiples and metrics for each of the transactions

observed in the analysis; and (ii) the basis for Goldman Sachs’ selection of a range of last-

twelve-months EBITDA multiples of 12.3x to 21.0x to value the Company.

       36.     With respect to Goldman Sachs’ Premia Analysis, the Registration Statement fails

to disclose the specific transactions used in Goldman Sachs’ analysis, as well as the premium

paid in each transaction.

       37.     With respect to Goldman Sachs’ Illustrative Present Value of Future Share Price

Analysis, the Registration Statement fails to disclose: (i) the inputs and assumptions underlying




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Goldman Sachs’ use of a discount rate of 8.25%; and (ii) the basis for Goldman Sachs’ use of a

range of NTM EBITDA multiples of 28.0x to 34.0x.

        38.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed. Moreover,

the disclosure of projected financial information is material because it provides shareholders with

a basis to project the future financial performance of a company and allows shareholders to

better understand the financial analyses performed by the Company’s financial advisor in support

of its fairness opinion.

        39.     Without the above described information, the Company’s shareholders are unable

to cast a fully informed vote on the Proposed Transactions. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.

                    Material False and Misleading Statements or Material
                 Misrepresentations or Omissions Regarding the Sales Process

        40.     The Registration Statement contains information concerning the sales process

leading up to the Proposed Transaction, but fails to disclose material information concerning

such.

        41.     Specifically, the Registration Statement notes that the Company’s Board

“evaluated and considered a variety of potential strategic options, including strategic

acquisitions, divestitures and business combination transactions, in light of industry

developments, economic and market conditions and challenges facing participants in the

industry.” However the Registration Statement fails to disclose whether any parties entered into

any mutual non-disclosure agreements with the Company that may contain “don’t ask, don’t



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waive” (“DADW”) provisions that would prevent the potential suitor from making a topping bid

for the Company.

          42.   Without the above described information, the Company’s shareholders are unable

to cast a fully informed vote on the Proposed Transactions. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.

                                              COUNT I

                     (Against All Defendants for Violations of Section 14(a)
                of the Exchange Act and Rule 14a-9 Promulgated Thereunder)

          43.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          44.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

          45.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that communications with stockholders in a recommendation statement shall not

contain “any statement which, at the time and in the light of the circumstances under which it is

made, is false or misleading with respect to any material fact, or which omits to state any

material fact necessary in order to make the statements therein not false or misleading.” 17

C.F.R. § 240.14a-9.



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       46.     Defendants have issued the Registration Statement with the intention of soliciting

shareholders support for the Proposed Transaction. Each of the Defendants reviewed and

authorized the dissemination of the Registration Statement, which fails to provide critical

information regarding, among other things, the financial projections for the Company.

       47.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Defendants, by virtue

of their roles as officers and/or directors, were aware of the omitted information but failed to

disclose such information, in violation of Section 14(a). The Defendants were therefore

negligent, as they had reasonable grounds to believe material facts existed that were misstated or

omitted from the Registration Statement, but nonetheless failed to obtain and disclose such

information to shareholders although they could have done so without extraordinary effort.

       48.     The Defendants knew or were negligent in not knowing that the Registration

Statement is materially misleading and omits material facts that are necessary to render it not

misleading. The Defendants undoubtedly reviewed and relied upon the omitted information

identified above in connection with their decision to approve and recommend the Proposed

Transaction.

       49.     The Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Registration Statement, rendering the

sections of the Registration Statement identified above to be materially incomplete and

misleading. Indeed, the Defendants were required to be particularly attentive to the procedures

followed in preparing the Registration Statement and review it carefully before it was

disseminated, to corroborate that there are no material misstatements or omissions.

       50.     The Defendants were, at the very least, negligent in preparing and reviewing the




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Registration Statement. The preparation of a Registration Statement by corporate insiders

containing materially false or misleading statements or omitting a material fact constitutes

negligence. The Defendants were negligent in choosing to omit material information from the

Registration Statement or failing to notice the material omissions in the Registration Statement

upon reviewing it, which they were required to do carefully as the Company’s directors. Indeed,

the Defendants were intricately involved in the process leading up to the signing of the Merger

Agreement and the preparation of the Company’s financial projections.

          51.   The misrepresentations and omissions in the Registration Statement are material

to Plaintiff, who will be deprived of his right to cast an informed vote if such misrepresentations

and omissions are not corrected prior to the vote on the Proposed Transaction.

          52.   Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                             COUNT II

                            (Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act)

          53.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          54.   The Individual Defendants acted as controlling persons of FLIR within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of FLIR, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Registration Statement filed with the SEC, they had the power to influence and control and

did influence and control, directly or indirectly, the decision making of the Company, including



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the content and dissemination of the various statements that Plaintiff contends are materially

incomplete and misleading.

       55.     Each of the Individual Defendants was provided with, or had unlimited access to,

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause the statements to be corrected.

       56.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Registration Statement at issue contains

the unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were thus directly involved in preparing this document.

       57.     In addition, as set forth in the Registration Statement sets forth at length and

described herein, the Individual Defendants were involved in negotiating, reviewing, and

approving the Merger Agreement. The Registration Statement purports to describe the various

issues and information that the Individual Defendants reviewed and considered. The Individual

Defendants participated in drafting and/or gave their input on the content of those descriptions.

       58.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       59.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and




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proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       60.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      Directing the Individual Defendants to disseminate an Amendment to the

Registration Statement that does not contain any untrue statements of material fact and that states

all material facts required in it or necessary to make the statements contained therein not

misleading;

       C.      Directing Defendants to account to Plaintiff for all damages sustained because of

the wrongs complained of herein;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                           JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: March 23, 2021                                          Respectfully submitted,

                                                               By: /s/ Joshua M. Lifshitz
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